                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION
                                  1:21-cr-55-MOC

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                  ORDER
                                    )
FOREST COLE STAMPER,                )
                                    )
            Defendant.              )
____________________________________)

       THIS MATTER is before the Court on the United States of America’s Motion to Dismiss

without prejudice the above-captioned Bill of Indictment, because Defendant has entered a guilty

plea in a related case. (Doc. No. 18).

       The Court has reviewed the Motion and finds that good cause has been shown to justify

dismissing the Bill of Indictment without prejudice.

       Thus, the Motion is GRANTED.




                          Signed: December 2, 2021




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